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                                                              October 16, 2023
VIA ECF

Hon. Gregory B. Williams
United States District Court for the District of Delaware
844 North King Street
Unit 26, Room 6124
Courtroom 6B
Wilmington, DE 19801-3555


      Re:         Cleveland-Cliffs Inc. v. Mesabi Metallics Co., LLC,
                  No. 23-cv-01082

Dear Judge Williams:

       Appellant Cleveland-Cliffs Inc. writes to inform the Court that, earlier today, the U.S.
Court of Appeals for the Third Circuit granted both Cliffs’ petition for a direct appeal in this matter
and Cliffs’ motion for a stay of the bankruptcy court’s order pending that appeal. Mesabi Metallics
Co., LLC v. Cleveland-Cliffs Inc., No. 23-8043 (3d Cir. Oct. 16, 2023), D.I. 9-1. The Order entered
by the Third Circuit was filed today in No. 23-cv-01082, D.I. 12. Accordingly, this appeal will
move forward before the Third Circuit, and Cliffs’ motion for a stay in this Court (D.I. 4) has
become moot.

                                                                             Very truly yours,

                                                                             /s/ Kristin S.M. Morrison

cc:         All counsel of record (via ECF)




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